CASE 0:16-cv-01054-DTS Doc. 638-6 Filed 10/23/19 Page 1 of 8




                 Exhibit 33
                (Redacted)
 (Previously Filed Under Seal as Dkt. 415)
CASE 0:16-cv-01054-DTS Doc. 638-6 Filed 10/23/19 Page 2 of 8




                                                               33
CASE 0:16-cv-01054-DTS Doc. 638-6 Filed 10/23/19 Page 3 of 8
CASE 0:16-cv-01054-DTS Doc. 638-6 Filed 10/23/19 Page 4 of 8
CASE 0:16-cv-01054-DTS Doc. 638-6 Filed 10/23/19 Page 5 of 8
CASE 0:16-cv-01054-DTS Doc. 638-6 Filed 10/23/19 Page 6 of 8
CASE 0:16-cv-01054-DTS Doc. 638-6 Filed 10/23/19 Page 7 of 8
CASE 0:16-cv-01054-DTS Doc. 638-6 Filed 10/23/19 Page 8 of 8
